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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-60078CR-RUIZ

  UNITED STATES OF AMERICA,

                      Plaintiff,
  v.

  MELVIN DAVID CRUZ-ORTIZ,

                  Defendant.
  _______________________________________/

                                   NOTICE OF APPEARANCE

        J. RAFAEL RODRÍGUEZ, ESQ., 6367 Bird Road, Miami, Florida 33155, hereby

  files this Notice of Appearance in the above-styled cause on behalf of MELVIN DAVID

  CRUZ-ORTIZ.

        IT IS HEREBY requested that the Clerk of this Court promptly notify the

  undersigned of the time, date and place of hearings, reports, soundings and trial to insure

  prompt appearance of the Defendant and the undersigned counsel before this Court.

                                           Respectfully submitted,

                                           LAW OFFICES OF J. RAFAEL RODRIGUEZ
                                           Attorneys for Melvin David Cruz-Ortiz
                                           6367 Bird Road
                                           Miami, FL 33155
                                           (305) 667-4445
                                           (305) 667-4118 (FAX)
                                           jrafrod@bellsouth.net

                                           By: s/ J. Rafael Rodríguez
                                                  J. RAFAEL RODRÍGUEZ
                                                  FLA. BAR NO. 0302007


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                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was

  electronically filed with the Clerk of Court using CM/ECF on this 10th day of February,

  2023.

                                                              s/ J. Rafael Rodríguez
                                                              J. RAFAEL RODRÍGUEZ




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